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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                             ORDER

       Trial in this matter is scheduled to commence on September 12, 2023. Consistent with the

parties’ time assessments discussed during the scheduling conference held on June 28, 2023, the

court orders the following with regard to trial proceedings.

       I.      Pretrial Dates

               A.      The parties shall appear for a remote status conference on July 19, 2023, at
                       4:00 p.m.;

               B.      The parties shall appear for a remote status conference and hearing regarding
                       confidentiality designations on August 11, 2023, at 1:00 p.m.;

               C.      The parties shall appear for a pretrial conference in Courtroom 10 on
                       September 1, 2023, at 2:00 p.m.
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        II.     Trial Schedule

                A.     Trial shall begin on September 12, 2023, with the parties’ opening
                       statements and the start of the DOJ Plaintiffs’ case-in-chief. The DOJ
                       Plaintiffs’ case-in-chief shall conclude on or about October 6, 2023 (appx.
                       105 hours);

                B.     Colorado Plaintiffs’ case-in-chief shall begin on or about October 9, 2023,
                       and conclude on or about October 24, 2023 (appx. 65 hours);

                C.     Google’s case-in-chief shall begin on or about October 25, 2023, and
                       conclude on or about November 15, 2023 (appx. 98 hours);

                D.     The court will not sit on September 25, September 29, October 20, and
                       October 23, 2023, and the above time estimates take these days into account;

                E.     Time for rebuttal cases, if any, is to be determined.

        III.    Motion for Sanctions Evidentiary Hearing

        The court will consolidate trial on the merits with the requested evidentiary hearing on the

DOJ and Colorado Plaintiffs’ motions for sanctions. Plaintiffs may examine in their cases-in-chief

the five witnesses they have identified, and Google will be permitted to call three witnesses in its

case-in-chief. Testimony concerning the sanctions motion shall count towards each parties’

allotted trial time.




Dated: June 30, 2023                                         Amit P. Mehta
                                                      United States District Court Judge
